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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION


STELLA THOMAS, Individually, and
OZINE THOMAS, as Attorney-in-Fact on Behalf of
CHRISTOPHER O. THOMAS,

       Plaintiffs,

vs.                                               Case No. 2:22-cv-2691

STEPHANIE CRAWFORD,                               JURY DEMANDED
DOORDASH, INC.,
DOORDASH ESSENTIALS, LLC, and
DOORDASH G&C, LLC,

       Defendants.


                              COMPLAINT FOR DAMAGES


       COME NOW the Plaintiffs, Stella Thomas, individually, and Ozine Thomas, as

attorney-in-fact on behalf of Christopher O. Thomas, by and through undersigned counsel

of record, and files this Complaint for Damages against the Defendants, Stephanie

Crawford, DoorDash, Inc., DoorDash Essentials, LLC and DoorDash G&C, LLC, and for

their cause of action, respectfully states as follows:

                             I.     JURISDICTION & VENUE

       1.     The jurisdiction of this lawsuit is proper in the United States District Court

for the Western District of Tennessee, Western Division, pursuant to 28 U.S.C. §1332

with damages in excess of $75,000.00.

       2.     Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b)(2), as

all wrongful acts, events and/or omissions complained of herein occurred within the

jurisdiction of this judicial district in Memphis, Shelby County, Tennessee.
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       3.      This case has been filed in a timely manner, pursuant to Tenn. Code Ann.

§ 28-3-104, within one (1) year from the date of the accident which is the subject of this

cause of action.

                                       II.     PARTIES

       4.      Plaintiff, Stella Thomas, is a permanent adult resident of 556 Whitepoint

Avenue in Memphis, Shelby County, Tennessee. Hereinafter, Plaintiff Stella Thomas

shall be referred to as “Ms. Thomas.”

       5.      Plaintiff, Ozine Thomas, is the attorney-in-fact on behalf of his natural son,

Christopher O. Thomas, both of whom are permanent residents of the same residence

as Ms. Thomas in Memphis, Shelby County, Tennessee. A true and accurate copy of the

Durable Power of Attorney executed by Christopher O. Thomas is appended hereto as

Exhibit A. Hereinafter, Christopher O. Thomas (“Mr. Thomas”).

       6.      Hereinafter, where appropriate, Plaintiffs Ms. Thomas and Mr. Thomas will

collectively be referred to as “Plaintiffs.”

       7.      Upon information and belief, Defendant, Stephanie Crawford, is an adult

resident of Olive Branch, Desoto County, Mississippi. Upon information and belief,

Defendant, Stephanie Crawford, may be served with process at 10165 Loftin Drive; Olive

Branch, Mississippi 38654. Hereinafter, Defendant Stephanie Crawford shall be referred

to as “Ms. Crawford” or “Defendant Crawford.”

       8.      Upon information and belief, at all times relevant hereto, Defendant

Crawford was the owner of the 2014 Nissan Altima she was operating on or about October

9, 2021, immediately preceding the motor vehicle accident complained of herein.




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       9.     Upon further information and belief, at all times relevant hereto, Defendant

Crawford was an employee and/or agent, whether actual, apparent and/or implied, of

Defendants DoorDash, Inc., DoorDash Essentials, LLC and/or DoorDash G&C, LLC, and

was acting in the course and scope of her agency therewith while attempting to deliver

food to a customer on behalf of Defendants DoorDash, Inc., DoorDash Essentials, LLC

and/or DoorDash G&C, LLC when she struck the Plaintiffs’ vehicle.

       10.    Upon information and belief, Defendant DoorDash, Inc., is a foreign

company incorporated in Delaware with its principal office located at 303 2nd Street, South

Tower, Suite 800 in San Francisco, California 94107-1366. Upon information and belief,

at all times relevant hereto, including at the time of the collision complained of herein,

Defendant DoorDash, Inc. had employed and/or contracted with Defendant Crawford for

the latter to provide food delivery services on behalf of Defendant DoorDash, Inc., and

was therefore the legal principal of Defendant Crawford. Defendant DoorDash, Inc. can

be served with process in Tennessee via its registered agent, CT Corporation System,

located at: 300 Montvue Road in Knoxville, Tennessee 37919-5546.               Hereinafter,

Defendant DoorDash, Inc. shall be referred to as “DoorDash” or “Defendant DoorDash.”

       11.    Upon information and belief, Defendant DoorDash Essentials, LLC, is a

foreign company incorporated in Delaware with its principal office located at 303 2nd

Street, South Tower, Suite 800 in San Francisco, California 94107-1366.               Upon

information and belief, at all times relevant hereto, including at the time of the collision

complained of herein, Defendant DoorDash Essentials, LLC had employed and/or

contracted with Defendant Crawford for the latter to provide food delivery services on

behalf of Defendant DoorDash Essentials, LLC, and was therefore the legal principal of



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Defendant Crawford. Defendant DoorDash Essentials, LLC can be served with process

in Tennessee via its registered agent, CT Corporation System, located at: 300 Montvue

Road in Knoxville, Tennessee 37919-5546.             Hereinafter, Defendant DoorDash

Essentials, LLC shall be referred to as “DoorDash Essentials” or “Defendant DoorDash

Essentials.”

      12.      Upon information and belief, Defendant DoorDash G&C, LLC, is a foreign

company incorporated in Delaware with its principal office located at 303 2nd Street, South

Tower, Suite 800 in San Francisco, California 94107-1366. Upon information and belief,

at all times relevant hereto, including at the time of the collision complained of herein,

Defendant DoorDash G&C, LLC had employed and/or contracted with Defendant

Crawford for the latter to provide food delivery services on behalf of Defendant DoorDash,

G&C, LLC, and was therefore the legal principal of Defendant Crawford. Defendant

DoorDash G&C, LLC can be served with process in Tennessee via its registered agent,

CT Corporation System, located at: 300 Montvue Road in Knoxville, Tennessee 37919-

5546. Hereinafter, Defendant DoorDash G&C, LLC shall be referred to as “DoorDash

G&C” or “Defendant DoorDash G&C.”

      13.      Hereinafter, Defendants DoorDash, DoorDash Essentials and DoorDash

G&C shall collectively be referred to as the “DoorDash Defendants.”

                            III.   STATEMENT OF FACTS

      14.      On or about October 9, 2021, at approximately 7:00 p.m., Ms. Thomas was

lawfully driving southbound on Elvis Presley Boulevard in her 2016 Chrysler 300 with Mr.

Thomas in the front passenger seat as she approached the intersection with East Raines

Road in Memphis, Shelby County.



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       15.    On or about October 9, 2021, at approximately 7:00 p.m., Defendant

Crawford was also driving southbound on Elvis Presley Boulevard in her 2014 Nissan

Altima as she approached the intersection with East Raines Road in Memphis, Shelby

County.

       16.    Upon information and belief, at all times relevant hereto, Defendant

Crawford was utilizing her vehicle to complete a delivery for the DoorDash Defendants.

       17.    On or about October 9, 2021, at approximately 7:00 p.m., before Ms.

Thomas had cleared the intersection of Elvis Presley Boulevard and East Raines Road,

Defendant Crawford took her attention off of the road and towards her backseat, causing

the front of her vehicle to directly strike the rear end of Ms. Thomas’s Chrysler 300.

       18.    As a result of the impact, both vehicles suffered significant damage, with

Ms. Crawford’s vehicle requiring towing away from the scene.

       19.    Upon information and belief, Defendant Crawford was issued a citation by

the Memphis Police Department for, inter alia, Failure to Maintain Safe Lookout.

       20.    As a direct and proximate result of this collision and the negligence of

Defendant Crawford, Plaintiffs sustained personal and bodily injuries, mental and

emotional anguish and fright, incurred reasonable necessary expenses associated with

necessary medical care, and other damages.

                             IV.    ACTS OF NEGLIGENCE

                   COUNT I: COMMON LAW NEGLIGENCE AS TO
                     DEFENDANT CRAWFORD, INDIVIDUALLY

       21.    Plaintiffs incorporate all foregoing paragraphs as though set forth herein.




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       22.    At all relevant times hereto, Defendant Crawford was guilty of the following

acts of common law general negligence, each and every one of which was a direct and

proximate cause of the Plaintiffs’ resulting injuries and damages, to wit:

              a.     negligently failing to maintain a proper lookout for the operation of

                     the vehicles being operated;

              b.     negligently failing to exercise that degree of care and caution

                     required of reasonable and prudent persons under the same or

                     similar circumstances;

              c.     negligently failing to avoid the occurrence of the collision when in the

                     exercise of ordinary and reasonable care, she should have known

                     that continuing in the same manner would result in a collision

                     between the vehicles and cause physical injuries to Plaintiffs;

              d.     negligently failing to devote full time and attention to the operation of

                     the vehicle;

              e.     negligently failing to exercise ordinary and reasonable care while

                     operating a motor vehicle to avoid a preventable collision;

              f.     negligently failing to maintain proper control of her vehicle;

              g.     negligently failing to use the degree of care and skill of a reasonable

                     and prudent person under the same and/or similar circumstances

                     then and there existing; and

              h.     negligently failing to obey and/or observe traffic control signals.




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                           COUNT II: NEGLIGENCE PER SE-
                   STATUTORY VIOLATION OF TENNESSEE STATE LAW
                     AS TO DEFENDANT CRAWFORD, INDIVIDUALLY

         23.      Plaintiffs incorporate all foregoing paragraphs as though set forth herein.

         24.      At all times relevant hereto, Defendant Crawford was required to comply

with the following statute:

                  a.     T.C.A. Section 55-8-124: Following too closely; and

                  b.     T.C.A. Section 55-8-136: Due Care.

         25.      At all times relevant hereto, Defendant Crawford violated T.C.A. Section 55-

8-124.

         26.      At all times relevant hereto, Defendant Crawford violated T.C.A. Section 55-

8-136.

         27.      At all times relevant hereto, the above statutes were in operation and in full

effect on the date of this accident and Defendant Crawford’s violations thereof constitute

negligence per se.

         28.      Defendant Crawford breached her statutory duties as set forth herein,

constituting negligence per se, and thereby causing Plaintiff to suffer injuries and

damages.

                                COUNT III: NEGLIGENCE PER SE-
                       VIOLATION OF ORDINANCES OF THE CITY OF MEMPHIS
                          AS TO DEFENDANT CRAWFORD, INDIVIDUALLY

         29.      Plaintiffs incorporate all foregoing paragraphs as though set forth herein.

         30.      At all times relevant hereto, Defendant Crawford was required to comply

with the following Ordinances of the City of Memphis, Tennessee:

               a. Section 11-16-2: Duty to devote full time and attention to operating vehicle.
                  (Code 1985 Section 21-87; Code 1967 Section 23-139);

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             b. Section 11-16-3: Duty to drive at a safe speed, maintain lookout and keep
                vehicle under control. (Code 1985 Section 21-88; Code 1967 Section 23-
                155);

             c. Section 11-16-20: Following too closely. (Code 1985 Section 21-104; Code
                1967 Section 23-151);

             d. Section 11-16-44: Reckless driving. (Code 1985 Section 21-128; Ord. 942
                Section 1, 4-27-71; Code 1967 Section 23-180).

       31.      At all times relevant hereto, Ms. Crawford violated Section 11-16-2 of the

Ordinances of the City of Memphis.

       32.      At all times relevant hereto, Ms. Crawford violated Section 11-16-3 of the

Ordinances of the City of Memphis.

       33.      At all times relevant hereto, Ms. Crawford violated Section 11-16-20 of the

Ordinances of the City of Memphis.

       34.      At all times relevant hereto, Ms. Crawford violated Section 11-16-44 of the

Ordinances of the City of Memphis.

       35.      At all times relevant hereto, the above Ordinances of the City of Memphis

were in operation and in full effect on the date of this accident and said violations by Ms.

Crawford constitute negligence per se.

       36.      Ms. Crawford breached her municipal duties as set forth herein, causing the

Plaintiffs to suffer injuries and damages.

                         COUNT IV: AS TO DOORDASH DEFENDANTS

       37.      Plaintiffs incorporate all foregoing paragraphs as though set forth herein.

       38.      Upon information and belief, at all times relevant hereto, Defendant

Crawford was an employee and/or agent, whether actual or apparent, of the DoorDash




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Defendants, and was acting in the course and scope of her employment and/or agency

at the time of the collision.

       39.     Upon information and belief, at all times relevant hereto, the DoorDash

Defendants were the employer and/or principal, whether actual or apparent, of Defendant

Crawford, who was acting in the course and scope of her employment and/or agency at

the time of the collision.

       40.     As the employer and/or principal, whether actual or apparent, of Defendant

Crawford, the DoorDash Defendants are vicariously liable under the doctrine of

respondeat superior for the for the following acts of common law negligence committed

by Defendant Crawford, each and every one of which is a direct and proximate cause of

the injuries and damages alleged herein:

               i.     negligently failing to maintain a proper lookout for the operation of

                      the vehicles being operated;

               j.     negligently failing to exercise that degree of care and caution

                      required of reasonable and prudent persons under the same or

                      similar circumstances;

               k.     negligently failing to avoid the occurrence of the collision when in the

                      exercise of ordinary and reasonable care, she should have known

                      that continuing in the same manner would result in a collision

                      between the vehicles and cause physical injuries to Plaintiffs;

               l.     negligently failing to devote full time and attention to the operation of

                      the vehicle;




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                  m.    negligently failing to exercise ordinary and reasonable care while

                        operating a motor vehicle to avoid a preventable collision;

                  n.    negligently failing to maintain proper control of her vehicle;

                  o.    negligently failing to use the degree of care and skill of a reasonable

                        and prudent person under the same and/or similar circumstances

                        then and there existing; and

                  p.    negligently failing to obey and/or observe traffic control signals.

       41.        As the employer and/or principal, whether actual or apparent, of Defendant

Crawford, the DoorDash Defendants are vicariously liable under the doctrine of

respondeat superior for Defendant Crawford’s violations of one or more of the following

statutes of the State of Tennessee, each of which was in full force and effect at the time

and place of the collision complained of herein; with each and every such violation

constituting a separate and distinct act of negligence per se, each and every act

constituting a direct and proximate cause of the injuries and damages complained of

herein, to wit:

             a. T.C.A. Section 55-8-124: Following too closely; and

             b. T.C.A. Section 55-8-136: Due Care.

       42.        As the employer and/or principal, whether actual or apparent, of Defendant

Crawford, the DoorDash Defendants are vicariously liable under the doctrine of

respondeat superior for Defendant Crawford’s violation of one or more of the following

traffic ordinances of the City of Memphis, each and every ordinance being in full force

and effect at the time and place of the collision complained or herein; with each and every

such violation constituting a separate and distinct act or negligence per se, and each and



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every act constituting a direct and proximate cause of the injuries and damages

complained of herein:

            a. Section 11-16-2: Duty to devote full time and attention to operating vehicle.
               (Code 1985 Section 21-87; Code 1967 Section 23-139);

            b. Section 11-16-3: Duty to drive at a safe speed, maintain lookout and keep
               vehicle under control. (Code 1985 Section 21-88; Code 1967 Section 23-
               155);

            c. Section 11-16-20: Following too closely. (Code 1985 Section 21-104; Code
               1967 Section 23-151);

            d. Section 11-16-44: Reckless driving. (Code 1985 Section 21-128; Ord. 942
               Section 1, 4-27-71; Code 1967 Section 23-180).

      43.      As a direct and proximate result of Defendant Crawford’s violations of the

above duties, statutes and ordinances, which directly and proximately caused the motor

vehicle collision complained of herein, the DoorDash Defendants are vicariously liable as

Defendant Crawford’s employer and/or principal, whether actual or apparent.

      44.      As a direct and proximate result of Defendant Crawford’s negligence, the

Plaintiffs have suffered damages for which the DoorDash Defendants are vicariously

liable as Defendant Crawford’s employer and/or principal, whether actual or apparent.

      45.      Upon further information and belief, at all times relevant hereto, Defendant

Crawford was utilizing her vehicle for the express purpose of delivering food to

customer(s) of the DoorDash Defendants.

      46.      The DoorDash Defendants are liable to Plaintiffs for their injuries and

damages caused by Defendant Crawford’s negligent operation of her vehicle while she

was on or about the business of delivering food to customer(s) of the DoorDash

Defendants.




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                                    V.     DAMAGES

       47.    As a direct and proximate result of the negligence of the Defendants in

directly, proximately and/or legally causing the collision complained of herein, Plaintiffs

suffered significant damages, including bodily injury, extreme fright, emotional anguish

and more, and seek all compensatory damages available to them under Tennessee law,

including but not limited to: past, present and future physical pain and suffering; past,

present and future loss of enjoyment of life; past, present and future medical bills and

necessary medical treatment; past, present and future mental anguish and emotional

distress; and, any and all other damages to which they may be entitled upon the premises.

       48.   As a direct and proximate result of the negligence of the Defendants,

Plaintiffs incurred necessary medical treatment and associated reasonable medical bills.

       49.   As a direct and proximate result of the negligence of the Defendants,

Plaintiffs also suffered significant property damage to Ms. Thomas’ vehicle.

                                 PRAYER FOR RELIEF

       WHEREFORE PREMISES CONSIDERED, Plaintiffs respectfully pray and/or

request:

   1. That Defendant be served with process and required to Answer this Complaint in

a timely manner, or have a default judgment entered against her and the allegations

herein deemed admitted;

   2. That a jury be empaneled to hear this case;

   3. That the Plaintiffs be awarded a judgment against the Defendant for compensatory

damages according to the proof at trial, in an amount to be determined by a jury, but in




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no event less than $150,000 each in non-economic damages, with economic damages

to be proven at trial; and

   4. That the Plaintiffs would further seek any and all other relief, whether general or

specific, that this Court should deem appropriate under the premises.

                                        Respectfully submitted,

                                        SPENCE PARTNERS

                                        /s/ Andrew M. Horvath
                                        Robert L. J. Spence, Jr. (BPR #12256)
                                        Andrew M. Horvath (BPR #33862)
                                        Cotton Exchange Building:
                                        65 Union Avenue, Suite 900
                                        Memphis, Tennessee 38103
                                        Telephone: (901) 312-9160
                                        Facsimile: (901) 521-9550
                                        rspence@spencepartnerslaw.com
                                        ahorvath@spencepartnerslaw.com

                                        Attorneys for Plaintiffs




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